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                         COMCAST CABLE COMMUNICATIONS, LLC
                    13   *pro hac vice to be sought
                    14                                  UNITED STATES DISTRICT COURT

                    15                             NORTHERN DISTRICT OF CALIFORNIA

                    16
                    17   BRANDON HODGES, for himself, and all           Case No. _______________
                         others similarly situated,
                    18                                                  DEFENDANT’S NOTICE OF
                                           Plaintiff,                   REMOVAL
                    19
                                v.
                    20
                         COMCAST CABLE COMMUNICATIONS,
                    21   LLC, a Delaware limited liability company;
                         and DOES 1-50, inclusive,
                    22
                                           Defendants.
                    23
                    24
                    25
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                    27
                    28
DRINKER BIDDLE &
   REATH LLP             DEFENDANT’S NOTICE OF REMOVAL                                   CASE NO. _______________
 ATTORNEYS AT LAW
   SAN FRANCISCO
                             Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 2 of 40



                     1          NOTICE TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                     2   THE NORTHERN DISTRICT OF CALIFORNIA:
                     3          Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, 1446, and 1453, Defendant Comcast Cable
                     4   Communications, LLC (“Defendant”) hereby removes this action from the Superior Court of
                     5   California, Alameda County, to the United States District Court for the Northern District of
                     6   California.1 In support of this removal, Defendant states as follows:
                     7                                                     I.
                     8         JURISDICTIONAL STATEMENT – FEDERAL QUESTION JURISDICTION
                     9          1.      Under 28 U.S.C. § 1331, the United States District Court has original jurisdiction of
                    10   all civil actions arising under the laws of the United States.
                    11          2.      Counts I through III of Plaintiff’s Complaint allege claims under the subsection of
                    12   the Cable Communications Policy Act of 1984 governing protection of subscriber privacy,
                    13   47 U.S.C. § 551 (the “Cable Act”), over which this Court has original jurisdiction. See Compl.
                    14   ¶¶ 33-39; see also id. ¶¶ 10-13.
                    15          3.      Count VI of Plaintiff’s Complaint advances a claim under California’s Unfair
                    16   Competition Law, California Business and Professions Code § 17200 et seq. (the “UCL”). See id.
                    17   ¶¶ 44-47. The predicate “unlawful” acts identified by Plaintiff in Count VI of his Complaint include
                    18   alleged violations of the Cable Act—in other words, violations of federal law. See id. ¶ 46(a)-(c).
                    19   This claim also arises under federal law and can be removed to federal court. See, e.g., Grable &
                    20   Sons Metal Prods., Inc. v. Darue Eng’g, 545 U.S. 308 (2005); Calif. ex rel. Lockyer v. Dynegy,
                    21   Inc., 375 F.3d 831, 840 (9th Cir. 2004); D’Alessio v. NYSE, 258 F.3d 93 (9th Cir. 2001); Sparta
                    22   Surgical Corp. v. NASD, 159 F.3d 1209 (9th Cir. 1998); Brennan v. Sw. Airlines Co., 134 F.3d
                    23   1405 (9th Cir. 1998); Nat’l Credit Reporting Ass’n v. Experian Info. Solutions, Inc., C04-
                    24   01661WHA, 2004 WL 1888769 (N.D. Cal. July 21, 2004).
                    25          4.      This Court therefore has jurisdiction over this action pursuant to 28 U.S.C. § 1331,
                    26   making this action removable pursuant to 28 U.S.C. §§ 1441(a).             This Court further has
                    27
                         1
                                By removing this action, Defendant does not waive any defenses, objections or motions
                    28   available to it under state or federal law.
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                     1   supplemental jurisdiction over any state law claims pursuant to 28 U.S.C. § 1367, as the state law
                     2   claims derive from “a common nucleus of operative fact.” United Mine Workers of Am. v. Gibbs,
                     3   383 U.S. 715, 725 (1966).
                     4                                                      II.
                     5           JURISDICTIONAL STATEMENT – THE CLASS ACTION FAIRNESS ACT
                     6           5.      As a separate and independent basis for removal, Defendant removes this action
                     7   pursuant to the Class Action Fairness Act of 2005 (“CAFA”), Pub. L. No. 109-2, 119 Stat. 4 (2005),
                     8   which grants federal courts diversity jurisdiction over putative class actions that have: (1) been
                     9   commenced after February 18, 2005; (2) minimal diversity; (3) 100 or more class members; and
                    10   (4) an aggregate amount in controversy in excess of $5,000,000. See 28 U.S.C. §§ 1332 note,
                    11   1332(d)(2)(A), 1332(d)(5)(B), 1332(d)(2). This putative class action satisfies every applicable
                    12   jurisdictional prerequisite. 2
                    13   A.      Commencement
                    14           6.      CAFA applies to civil actions that are commenced after CAFA’s effective date,

                    15   i.e., after February 18, 2005. See 28 U.S.C. § 1332 note.
                    16           7.      Plaintiff Brandon Hodges (“Plaintiff”) commenced this action on February 21,
                    17   2018, by filing a Complaint in the Superior Court of California, Alameda County, under the caption
                    18   Brandon Hodges et al. v. Comcast Cable Communications, LLC et al., No. Rg18893764.
                    19   See Compl. (attached as part of Exhibit A).
                    20           8.      Accordingly, this action was commenced after February 18, 2005.
                    21   B.      Minimal Diversity
                    22           9.      CAFA requires only minimal diversity, i.e., that “any member of a class of plaintiffs
                    23
                         2
                                 Strictly speaking, CAFA’s amount-in-controversy requirement is located in § 1332, which
                    24   applies to actions that are filed by plaintiffs, not in § 1453, which applies to actions that are removed
                         by defendants. Although normally an action is only removable if it could have been filed in federal
                    25   court originally, Congress can “expressly provid[e]” otherwise. See 28 U.S.C. § 1441(a). Here,
                         Section 1453(b) states that an action may be removed so long as it is a “class action.” See 28 U.S.C.
                    26   § 1453(b). Nothing in Section 1453(b) suggests that removed actions must satisfy Section 1332.
                         Cf. 14B Charles A. Wright et al., Federal Practice & Procedure § 3724 (4th ed. 2009). Indeed, the
                    27   plain language of Section 1453 suggests otherwise, as it incorporates Section 1332’s definition of
                         “class action” but not its various other requirements. See 28 U.S.C. § 1453(a). This is an academic
                    28   point here, however, as Section 1332(d) is satisfied in any event. See infra.
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                     1   is a citizen of a State different from any defendant.” 28 U.S.C. § 1332(d)(2)(A); see also Serrano
                     2   v. 180 Connect, Inc., 478 F.3d 1018, 1020, 1021 (9th Cir. 2007) (“[U]under CAFA, complete
                     3   diversity is not required; ‘minimal diversity’ suffices.” (citations omitted)).
                     4           10.    Comcast Cable Communications, LLC is a citizen of the Commonwealth of
                     5   Pennsylvania and the State of Delaware because it is organized under the laws of Delaware and has
                     6   its principal place of business in Pennsylvania. See Compl. ¶ 4; see also 28 U.S.C. § 1332(d)(10)
                     7   (“For purposes of this subsection and section 1453, an unincorporated association shall be deemed
                     8   to be a citizen of the State where it has its principal place of business and the State under whose
                     9   laws it is organized.”).
                    10           11.    Plaintiff alleges that he is a resident of California.       See Compl. ¶ 3.       Upon
                    11   information and belief, Plaintiff has no present intention to relocate to another state and is therefore
                    12   not only a resident, but also a domiciliary and citizen, of California. See, e.g., Newman-Green, Inc.
                    13   v. Alfonzo-Larrain, 490 U.S. 826, 828 (1989) (discussing residence, domicile, and citizenship);
                    14   Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001) (same).
                    15           12.    Plaintiff defines the putative class as “[a]ll persons in California with a residential
                    16   Comcast cable television subscription at any time during the applicable statutory limitations
                    17   period(s).” Compl. ¶ 25.
                    18           13.    Accordingly, there is minimal diversity between at least one defendant (Defendant
                    19   is not a citizen of California) and at least one plaintiff (Plaintiff is a resident and citizen of
                    20   California) or unnamed member of the putative class (all of whom received service in California
                    21   and not all of whom are citizens of Pennsylvania or Delaware). See 28 U.S.C. § 1332(d)(2)(A).
                    22   C.      Numerosity
                    23           14.    CAFA does not apply to class actions “in which . . . the number of members of all
                    24   proposed plaintiff classes in the aggregate is less than 100.” 28 U.S.C. § 1332(d)(5)(B).
                    25           15.    Plaintiff defines the putative class as “[a]ll persons in California with a residential
                    26   Comcast cable television subscription at any time during the applicable statutory limitations
                    27   period(s).” Compl. ¶ 25.
                    28           16.    Plaintiff alleges that the putative class is “so numerous that joinder of all Class
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                     1   members is impracticable.” Id. ¶ 28.
                     2           17.    There were substantially more than 100 persons in California with residential
                     3   Comcast cable television subscriptions in the year preceding the filing of this action.
                     4           18.    Accordingly, there are more than 100 putative class members. See 28 U.S.C.
                     5   § 1332(d)(5)(B).
                     6   D.      Amount in Controversy
                     7           19.    CAFA requires that “the matter in controversy exceeds the sum or value of
                     8   $5,000,000, exclusive of interest and costs.” 28 U.S.C. § 1332(d)(2).
                     9           20.    “[T]o determine whether the matter in controversy exceeds the sum or value of
                    10   $5,000,000,” the “claims of the individual class members shall be aggregated.” Id. § 1332(d)(6).
                    11           21.    Plaintiff claims that Comcast has violated federal and California statutory law and
                    12   requests as redress (among other things) “liquidated damages to Plaintiff and each Class member
                    13   computed at the rate of $100 a day for each day of violation of 47 U.S.C. § 551 or $1,000, whichever
                    14   is higher,” “statutory damages of $5,000 per violation of Penal Code § 637.5 for Plaintiff and each
                    15   Class member,” and “punitive damages.” Compl., Prayer for Relief ¶¶ 2-4.
                    16           22.    Plaintiff also seeks class-wide injunctive relief requiring Defendant to, among other
                    17   things, change its procedures and subscriber notices regarding subscriber video activity data.
                    18   See id., Prayer for Relief ¶ 1. The costs associated with implementing these potential remedies
                    19   would be substantial.
                    20           23.    Plaintiffs also seek an award of attorneys’ fees and costs. See id., Prayer for Relief
                    21   ¶ 5.    Awards of attorneys’ fees and costs may be included in the amount in controversy.
                    22   See, e.g., Guglielmino v. McKee Foods Corp., 506 F.3d 696, 698 (9th Cir. 2007); Galt G/S v. JSS
                    23   Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (“[W]here an underlying statute authorizes an
                    24   award of attorneys’ fees, either with mandatory or discretionary language, such fees may be
                    25   included in the amount in controversy.”). A fee award in a certified class action can often amount
                    26   to as much as thirty percent (30%) of a class’s recovery, which could increase the amount in
                    27   controversy by 30% or, put another way, to 130% of the class’s claimed recovery.
                    28   See, e.g., Frederico v. Home Depot, 507 F.3d 188, 199 (3d Cir. 2007) (citing cases); Jasso v. Money
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                     1   Mart Exp., Inc., No. 11-5500, 2012 WL 699465, at *7 (N.D. Cal. Mar. 1, 2012) (stating that fee
                     2   award of 25% of class recover was “not unreasonable”).
                     3           24.    The amount in controversy would increase if it included alleged damages that accrue
                     4   after the date of this Notice of Removal. See, e.g., Lao v. Wickes Furniture Co., 455 F. Supp. 2d
                     5   1045, 1050 (C.D. Cal. 2006) (including “future damages” in amount in controversy because class
                     6   period continued from date of filing to date of certification); Home Depot v. Rickher, No. 06-8006,
                     7   2006 WL 1727749, at *2 (7th Cir. May 22, 2006) (including future effects of injunction in
                     8   calculation of amount in controversy).
                     9           25.    Although Defendant denies that it has any liability to Plaintiff or anyone else, and
                    10   denies that the putative class could be properly certified under Federal Rule of Civil Procedure 23,
                    11   the aggregate amount placed “in controversy” by the Complaint—that is, the aggregate value of all
                    12   damages and fees sought and the costs of complying with all equitable relief sought—exceeds
                    13   $5,000,000. See 28 U.S.C. § 1332(d)(6) (“In any class action, the claims of the individual class
                    14   members shall be aggregated to determine whether the matter in controversy exceeds the sum or
                    15   value of $5,000,000, exclusive of interest and costs.”).
                    16           26.    Because this is a putative class action that was commenced after February 18, 2005
                    17   in which there is minimal diversity, more than 100 putative class members, and more than
                    18   $5,000,000 in the aggregate in controversy, this Court has original subject matter jurisdiction.
                    19   See 28 U.S.C. § 1332(d)(2)(A).
                    20           27.    This Court therefore also has jurisdiction over this action pursuant to 28 U.S.C.
                    21   § 1332, making this action removable pursuant to 28 U.S.C. §§ 1441(a).
                    22                                                   III.
                    23                                    PROCEDURAL STATEMENT
                    24   A.      Timeliness
                    25           28.    Pursuant to 28 U.S.C. § 1446(b) and Federal Rule of Civil Procedure 6, this Notice
                    26   of Removal has been timely filed within thirty (30) days of service because Plaintiff purported to
                    27   serve Defendant on February 22, 2017. See Murphy Bros, Inc. v. Michetti Pipe Stringing, Inc., 526
                    28   U.S. 344, 351-52 (1999).
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                     1   B.      Defendant
                     2           29.    Pursuant to 28 U.S.C. § 1453(b), a putative class action may be removed “without
                     3   regard to whether any defendant is a citizen of the State in which the action is brought.”
                     4   Nevertheless, Defendant is not a citizen of the state in which this action was brought.
                     5   C.      District
                     6           30.    Pursuant to 28 U.S.C. § 1441(a), removal to the United States District Court for
                     7   the Northern District of California is proper because it embraces the Superior Court of California,
                     8   Alameda County, where this action is now pending. See 28 U.S.C. § 84(a).
                     9   D.      Intradistrict Assignment
                    10           31.    This action arises in Alameda County, where it is now pending in the Superior Court
                    11   of California, because Plaintiff alleges that a substantial part of the events or omissions which give
                    12   rise to his claim occurred in Alameda County. See Compl. ¶¶ 6 (alleging Plaintiff “resides in
                    13   Alameda County and his contract with Comcast was to be performed in Alameda County”), 19
                    14   (alleging Plaintiff “subscribed to Comcast cable television service for his residence in Oakland”);

                    15   Civil L.R. 3-2(c). Accordingly, this action properly is assigned either to the Oakland Division or
                    16   to the San Francisco Division. See Civil L.R. 3-2(d).
                    17   E.      Attachments
                    18           32.    Pursuant to 28 U.S.C. § 1446(a), copies of the Complaint and any other process,
                    19   pleadings and orders that Plaintiff purportedly served on Defendant as of the date of this Notice are
                    20   attached collectively as Exhibit A.
                    21   F.      Evidence
                    22           33.    Pursuant to 28 U.S.C. § 1446(a), it is sufficient to provide a “short and plain”
                    23   allegation of jurisdiction and it is not necessary to attach evidence establishing those allegations.
                    24   See Dart Cherokee Basin Operating Co. v. Owens, 135 S. Ct. 547, 554 (2014) (“A statement ‘short
                    25   and plain’ need not contain evidentiary submissions.”).
                    26   G.      Notices
                    27           34.    Pursuant to 28 U.S.C. § 1446(d), Defendant will promptly file a copy of this Notice
                    28   of Removal in the Superior Court of California, Alameda County, and give written notice of the
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                     1   removal of this action to counsel for Plaintiff.
                     2   H.       Defenses
                     3            35.   By removing this action to this Court, Defendant does not concede that it has any
                     4   liability, let alone liability of greater than $5,000,000, to the members of the putative class.
                     5   See, e.g., Brill v. Countrywide Home Loans, Inc., 427 F.3d 446, 449 (7th Cir. 2005) (“[The
                     6   defendant] did not have to confess liability in order to show that the controversy exceeds the
                     7   threshold.”). Rather, “[t]he amount in controversy is simply an estimate of the total amount in
                     8   dispute, not a prospective assessment of defendant’s liability.” Lewis v. Verizon Commc’ns, Inc.,
                     9   627 F.3d 395, 400 (9th Cir. 2010) (citing cases); Helm v. Alderwoods Grp., Inc., No. 08-1184, 2008
                    10   WL 2002511, at *5 (N.D. Cal. May 7, 2008) (“[D]efendants cannot be expected to try the case
                    11   themselves for purposes of establishing jurisdiction, and then admit to the opposing party and to
                    12   the Court that a certain number of . . . violations did indeed occur.”).
                    13            36.   By removing this action to this Court, Defendant does not waive any defenses,
                    14   objections or motions available to them under state or federal law. Defendant expressly reserves
                    15   the right to move to dismiss or for judgment in favor of Defendant pursuant to Rules 12 and 56 of
                    16   the Federal Rules of Civil Procedure, to strike or oppose the certification of any putative class
                    17   pursuant to Federal Rule of Civil Procedure 23, and to move to compel arbitration of Plaintiff’s
                    18   claims pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 1-16.
                    19            WHEREFORE, Defendant respectfully removes this action from the Superior Court of
                    20   California, Alameda County, to the United States District Court for the Northern District of
                    21   California, pursuant to 28 U.S.C. §§ 1331, 1332, 1441, 1446, and 1453.
                    22   ///
                    23   ///
                    24   ///
                    25   ///
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                         DEFENDANT’S NOTICE OF REMOVAL                      -8-                     CASE NO. _______________
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                     1   Dated: March 23, 2018                 DRINKER BIDDLE & REATH LLP
                     2
                     3                                         By: /s/ Michael J. Stortz
                                                                    Michael J. Stortz
                     4                                              Matthew J. Adler
                     5                                              Seamus C. Duffy
                                                                    Michael W. McTigue Jr.
                     6                                              Michael P. Daly
                                                                    Meredith C. Slawe
                     7
                                                               Attorneys for Defendant
                     8                                         COMCAST CABLE COMMUNICATIONS,
                                                               LLC
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          EXHIBIT A
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                                                                                                                                                                      SUM-100
                                                    SUMMONS                                                                          FOR COURT UJI! O.'Vl Y
                                                                                                                                 (SOLO PARA USO DJ! lA COR1EI
                                              (CITACION JUDICIAL)                                                               El\l'JOi(/)Rtilll;Ja;
        NOTICE TO DEFENDANT:                                                                                                             IF.!LIED                        .
        (AVISO AL DEMANDADOJ:                                                                                          ALAMF.'OA r,(\JJll!TY;
         Comcast Cable Communications, LLC. a Delaware limited Uabllity
         company; and Does 1-50, inclusive                                                                                       FEB 21 2010
        YOU ARE BEING SUED BY PLAINTIFF:                                                                           ERK 01/ , 11.. '1Ul'l/,.N\}I( COURT
        (LO ESTA DEMANDANDO EL DEMANDA_NTEJ:                                                                      'I               '11'1\'ff......,.                     i
         Brandon Hodges. for himself, and all others similarly situated
                                                                                                                       -:-yANrn:PIERCl:iePUlvi

          NOTICEI You have been sued. The court may decide againsl you without your being heard unless you respond within 30 days. Read tho infonnalion
          below.                                                                                                                                                         :
             You have 30 CALENDAR DAYS oiler this summons and legal paa:ior& are served on you lO file a wrinen response at lhls coun and have a COpy
          served on lhe plaintiff. A rener or phone call will not proted you. Your wrinen response must be In proper legal rorm If you want the court 10 rte3r your
          case. There may be a court form that you can use for your response. You can find lhese court forms and mare Information at the California Courts
          Online Self-Help Center (www.coul1info.ca.9ov1Sellhe(P), your county law library, or the courthOuse nea,es1 you. II you C8MD1 pay the filing fee, ask
          lhe court dertr. for a fee waiver rorm. II you do not filo ya:ur rosponso on time, you may lose the case by default, and YOU! wages. money, and Property
          may be taken without further warning from lho coun.                                                                                               :
              Thero are other legal requlremen1s. You may wan1 toca.U an oltomoy right away. II you do not know an attorney, you may wanl to call an attorney
          referral servico. II you cannol afford an altomey, you may ba eligible tor free legal services from o nonprofll legal services program. Vou can locate
          lheso nonprofit groups at the California Legal Services Web site cv.w,v,lawholpcalifomia.org), lhe California Courts Online SeH-Help Cenler
          (www.coul1info.ca.gov/sellha1P), or by canlacting your IDGal coun or county bar association. NOTE: Tho court has a stalulo,y lien for waived fees and
         coses on any selllement or arbitration award of $10,000 or more In a dvil case. The coun•s lien musr be paid before the coun will dismiss tho c_ase.
         1AVISOI Lohan demandado. Si no responda dentto de 30dlas. la cone puede decldiren su contra sin escuctrar su versidn. Lea la infannacidn a
         conrinuacion.                                                                                     -.                                               :
             Tiene 30 DIAS DE CALENDARIO despuls de quo (e entreguen esra citacldn y papeles legales para pruentar una respuesta por escrilo en esta
         co110 y haccr quo .sc enfregue una coplo al damamtante. Una ca110 o una Ramada rolefdnlca no lo protogan. Su ,espueSla par elClito tiene que estar
         en formato legal correclo si desea que p,ocasen su caso en la c:oli'e. Es paJible que hara un fonnulario qua usrod pueda usar paro su respue~ta.
         Puode encontror esros tormularios do la corte y mos informac/On en el cent,o de Ayuda de In Comla do California r,w,w.suconc.ca.govJ, en la
         biblioteca de /ayes de su condado o en liJ corte quo le quede mas cerca. Si no puede pagar lo cuoro de presentacidn. pida al secrorario de la ~e
         qua la dfl un tormuliJrlo de exepc:idn do pogo de cuotas. Si no presenta su respuesto a fiampo. puada perc/er al caso par incumpJimienro y la cOll'e ta
         podrtJ quiter su sueldO, dinero y bienes sin m4s actvertencia.                                        •                                            .
            Hay otros requisitos legates. Es recomcndable qua llama a un atJogado inmediatamento. Si na conoce a un abagado, puedo llama, a un servfc/o do
         remisidn a abogados. Si no puedo pagar a un obogado, es poslble quo cumpla con las requlsitos para obtener servicios legates gratuitos do un
         programa de servic:ios legates sin fines de lllcro. Puede enmntrar ostos r,rupas sin f,nes de lucro en el s/rio web de Calilomia Legal Services,
         f,Yww.lawhelpcalirornia.org), en et Cen:,u de Ayuda de las Cotfes de Cslitornia, (Mvw.sucorte.co.govJ o ponii!ndose en conracto con la cone o el
         colegio de abogados locales. AVISO: Parley, la cono tiana derocho a reclamar las cuoras y las '°8los exentos par imponer un grovamen sabre
         cualqulor recuperaciOn de $10.000 6 mds de valor recibitla medianta un acuerdo o una concesidn de arbilmje en un caso de darecha civil. T~ne que
         pagar al gravamen do la co110 anres de que la corre pueda desechar al ca,.o.
    The name and address of the court is:                                                                        CASE NUMBER;
                                                                                                                 llllJtnetD dol Caso,:
    (El nombro y dirocci6n de la corle as}:
                                     Alameda County Superior Court
        Oakland, Rene C. Davidson Alameda County Courthouse
        1225 Fallon St, Oakland, CA 94612
    The name, address, and telephone number of plaintiffs allorney, or plaintiff without an attorney, is:      ~
    {El noinbre, /a direcciOn y ol nOmero de teltJfono del abogado do/ damandanla, o de/ demandanta qua no liono abogado, es):
        Ray E. Gallo, Gallo LLP, 1299 4th St., Ste. 505, San Rafael, CA 9490 I; (415) 257-8800
     DATE: 2/20/2018                                    Chad Finke       Clerk, by                                                                                    . Deputy
     /Fecha}                                                             (Sec,etario}                                    TANIA PIERCt                                  (Adjunlo}
    (For proof of service of this summons. uso Prool of Service of Summons (form POS-010).)
    (Para prueba de antroga de asta citali6n use el formulario Proof of Service of Summons, (P.OS-010)).
                                      NOTICE TO THE PERSON SERVED: You are served
      (SEA.LI
                                      1.            D
                                              as an individual defendan,.                    .
                                      2. c:J as lhe person sued under the fictitious name of (specify):


                                               3.   CXJ   on behalf of (spocify}: Comcast Cable Communications, LLC, a Delaware limit8d liability compan~
                                                    under:   D    CCP 416.10 (corporation)                        D          CCP 416.60 (minor)
                                                             D    CCP 416.20 (delunCI corporalion)                D          CCP 416.70 (conservalee)
                                                             D    CCP 416.40 (associalion or partnership)         D          CCP 416.90 (authorized person)
                                                             DD   olher (specify}: Corpora lion Code 17701.16 (Limited Liability Company,
                                               4.   D     by personal delivery"on (dala}:                                               ·
                                                                                                                                                                         Pa    tort
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                                                                               SUMMONS                                                       C=o al c;,..i P,ocm:i:n, §§ o1t2,20, •6~
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         SU~MOO IRov, Jut¥ I.~~




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    . Little Rock, AR 7220 I
· 9   Telephone: 501.312.8500
10
       Altorneys for Plaintiff
.II
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
12
                                        COUNTY OF ALAMEDA
13
14     Brandon Hodges, for himself, and all       Case No.   f2G\
                                                            I~        '8l).31 lt, LL
       others similarly situated,                 CLASS ACTiON                     f
15
                      Plaintiff,                  COMPLAINT FOR DAMAGES AND
16            vs.                                 INJUNCTIVE RELIEF BASED ON:
17
       Comcast Cable Communications, LLC, a        I. Violation of 47 U.S.C. § 551 (a)
18     Delaware limited liability company; and
                                                  2. Violation of 47 U.S.C. § 551 (b)
       Does 1-50, inclusive,
19                                                3. Violation of47 U.S.C. § 551(d)
                      Defendants
20                                                4. Violation of Cal. Pen. Code§ 637.5(a)(l)
                                                  5. Violation of Cal. Pen. Code§ 637.5(d)
21
                                                  6. Violation of Bus. & Prof. Code § I 7200 et seq.
22
                                                     DEMAND FOR ,JURY TRIAL
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             Plain1iIT, for himself and all olhers similarly si1ua1ed, complains as follows:

 2           I.     This is a California class action against Comcast Cable Communications, LLC

 3   ("Comcast"), the nation's largest cable provider, for violating cable television subscribers'

 4   statutory privacy rights.

 5           2.     The allegations herein that relate to Plaintiffs personal actions arc made based on

 6   his personal knowledge. The balance arc made on information and belief based on the

 7   invesligation of counsel.

 8                                                   Parties

 9          3.      Plaintiff Brandon Hodges is, and al all relevant limes was, an individual residing in

IO   Oakland, California.

11          4.      Defendant Comcast Cable Communications, LLC is a Delaware limited liability

12   company with its principal place ofbusincss in Philadelphia, Pennsylvania.

13          5.      Plaintiff is unaware of the true identities of those Defendants sued herein as Docs I

14   through 50, inclusive, and therefore sue such Defendants by these fictitious names. Plaintiff will

15   seek leave of Court 10 amend !his Complain! 10 idenlify 1hesc fictitiously named ~cfcndants when

16   identified. Each ficti1iously named Defendanl is liable in some manner For the injuries and

17   damages alleged by Plaintiff.

18                                                   Venue

19          6.      Venue is proper in this county under Code of Civil Procedure § 395 because

20   Plaintiff Brandon !·lodges resides in Alameda County and his contract with Comcast was to be

21   pcrfonned in Alameda County.

22                     Comcast's Collection of Pcrsonalh• Identifiable Information
23          7.      Comcast's cable system automatically, generates, transmits, and collects data about

24   subscribers' cable 1elevision viewing activily ("video ac1ivi1y data"), including which channels,

25   programs, and advertisements subscribers view and for how long. 1

26
27   1
       Comcast Customer Privacy Notice, Updated January I. 2018, § I. Collection oflnformation.
     lnformaiion We Collecl When You Use The Services, h11ps://w\\'w.xlini1y.c<>m/ curpornl<:i
28   customcrs/milicit~s/eustomcrnriv:i.·v (las1 visited Feb. 19. 2018).
                                                       Page:?

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             8.     Comcasl disclosures show 1ha1 1he video aclivily dala Comcasl collects is

 2   personally identifiable information C'PII") under 47 U.S.C. § 551 and individually identifiable

 3   infonnation ("III") under Cal. Pen. Code§ 637.5(1)(2):

 4                  a.      The Comcast Customer Privacy Notice in place from August I, 2015 to

 5                          January I , 2018 acknowledged that Comcast may "combine infommtion

 6                          about, [the subscriber's] use of [Comcast's] cable services with other

 7                          information [Comcast] obtain[s] from [its] business records (such as [the

 8                          subscriber's] Comcast account number or device identifiers), or from third

 9                          parties, 10 deliver beller and more relevant products, services and

10                          advertising." Video aclivity dala linked to an account number or device

II                          identifier is PII because Comcasl can identify the subscriber associated with

12                          the video activity data from its records linking account numbers and device

13                          identifiers with specific subscribers.

14                  b.     Comcast touts its ability to target viewers and measure purchasing behavior

15                         at the household level through its addressable advertising service. With this

16                         service, Comcast lets advertisers direct advertising to specific subscribers

17                          by name orcharac1eris1ics. To help measure lhe efficacy of the addressable

18                         advertisemenls, Comcast provides household level adver1isement exposure

19                         dala to a "third-parly matching agenl'' such as Experian, which combines

20                         Comcast's video activity ~lata wi1h household-level purchasing data. 2 For

21                         the third-party matching agent to link Comcast's household-level

22                         advertisement exposure data with the advertiser's purchasing data, the

23                         matching agent needs a unique identifier from Comcast and the advertiser

24                         (or its data provider). Comcast cannot provide such a unique identifier

25                         unless lhe adver1isemen1 exposure darn ii collects is personally iden1iliable.

26

27   ~ Sam Thielman, Comcc,sl IO Tap Se1-fop Dau,ji1r Advanced Advenising Service, Adweek, Jan.
     30, 20 14, ht Ir,:!/www .ad week .comil v-vidcof~<>mca~t-lflp-set-lor,-data-advanced-adve11ising-
28   s~rvic,'-I55335/ (last visi1cd Feb. 19. 2018).
                                                       Page 3
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              9.    Comcast also collects personally identifiable demographic data about its

 2   subscribers, including their age, gender, presence and age of children, education, occupation,

 3   ethnicity, marital status, household size, property ownership, mortgage/loan/insurance data,

 4   automotive ownership, general interests, magazine subscriptions, and wealth/financial status. 3 This

 5   data is personally identifiable because it is linked to and conccms a particular subscriber. Comcast

 6   maintains this infonnation in its audience database and uses it for a variety of advertising purposes

 7   including, inter a/ia, measuring the popularity of programs among subscribers based on their

 8   characteristics and targeting advertisements to specific households and groups of households

 9   based on their characteristics.

IO                                           Statutory Violations
11            IO.   Comcast's treatment of personally identifiable video activity data and demographic

12   data violates several provisions of the Cable Communications Policy Act of 1984 (the "Cable

13   Act"), 47 U.S.C. § 521 el seq. Comcast is subject to the Cable Act's protections for subscriber

14   privacy set forth in 47 U.S.C. § 551 because it is a "cable operator" as the tenn is defined in 47

15   U.S.C. § 551(a)(2)(C).

16            11.   The Cable Act requires cable operators to provide written notice to their

17   subscribers, upon contracting and annually thereafter, "which clearly and conspicuously informs

18   the subscriber of.-", among other things, "the period during which [PII collected ... with respect
19   to the subscriber] will be nmintained by the cable operator.... " 47 U.S.C. § 55 l(a)(I). Throughout

20   the relevant period, Comcast's Privacy Notice has failed to clearly and conspicuously tell

21   subscribers how long Comcast would maintain their personally identifiable infonuation, including

22   video activity data and demographic data. Instead, the Privacy Notice opaquely states that

23   Comcast maintains infonnation that personally identifies the subscriber while he or she subscribes

24   to one or more of<:omcast's services and for a period of time after the subscriber no longer

25   subscribes to a Comcast service "if the information is necessary for the purposes for which it was

26
27   3Comcast Spotlight. Audience Intelligence: Data, h11ps://www.c,)mcastspotli2h1.com/ad-
     sohnions/overview/uudience-i111elligence-du1a (last visited Feb. 19, 2018).
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     collec1ed or 10 salisfy legal requiremenls."' This s1a1ement does 1101 disclose how long Comcasl

 2   mainlains subscribers· PII.

 3            12.    The Cable Act requires that cable operators obtain the "written or electronic

 4   consent of the subscriber concerned" prior to using the cable system to collect PII concerning any

 5   subscriber (subject to certain inapplicable exceptions). 47 U.S.C. § 551 (b). Comcast violated (and

 6   continues to violate) this requirement by systematically and automatically collecting personally

 7   identifiable video activity data from subscribers for advertising purposes without their prior

 8   written or electronic consent.

 9            13.   The Cable Acl requires cable operalors 10 provide subscribers access 10 all PII

IO   regarding lhemselves which lhe cable operalor collecled and maintains. 47 U.S.C. § 55 l(d).

II   Comcasl does not provide cable subscribers who requesl access to !heir PH wilh a copy of all PIT

12   regarding that subscriber that Comcast has collected and maintains. Rather, when subscribers

13   request access to the PII associated with their account, Comcast provides only the ·subscriber's

14   name, partial social security number. address. and telephone number without providing any of the

15   video activity data or demographic data that Comcast maintains.

16            14.   Comcast's conduct also violates the California Invasion of Privacy Act ("CIPA"),

17   Cal. Penal Code§ 630 e1 seq. Comcasl is subjecl to CIPA's cable subscriber privacy protections

18   set forth in Cal. Pen. Code§ 637.5 because ii is a "person" that owns, controls, operates, or

19   manages a "cable lelevision corpora1ion'" as !hose lerms are defined in Cal. Pen. Code§ 637.5(1).

20            15.   Cl PA prohibits any '"person who owns, controls, operates, or manages a ... cable

21   television corporation" from "'us[ing] any electronic device to record, transmit, or observe any

22   events ... that take place inside a subscriber's residence, .workplace, or place of business, without

23   obtaining the express written consent of the subscriber." Cal. Pen. Code § 637.5(a)( I). Comcast

24   viola1cd and continues to violate this prohibi1ion by using electronic devices-namely subscribers'

25

26
     4
       Comcast Cuslomcr Privacy Notice, Updated January I, 2018, § VII. Olher Important
27   Information, Dain Rc1cn1ion, l111ps:/'www.xfini1v.com/comorau:/cus1omcrs/policicsi
     1."11~1omerprivucv (last \"isiled Feb. 19, 2018).
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     cable boxes5-to record, transmit, and observe events that take place inside subscribers'

 2   residences, including which channels, programs, and advertisements they watch and when they

 3   watch them, without subscribers' express written consent.

 4            16.    CIPA requires that "(u)pon a subscriber's application for ... cable television

 5   service, ... a ... cable television corporation shall provide the applicant with a separate notice in

 6   an appropriate form explaining the subscriber's right to privacy protection afforded by [Cal. Pen.

 7   Code§ 637.5)." Cal. Pen. Code§ 637.S(e). Comcast does not provide a separate notice explaining

 8   subscribers' privacy rights under CIPA, but relies on the same Customer Privacy Notice it uses to

 9   fulfill its Cable Act notice obligations to satisfy this requirement. Comcast's Privacy Notice does

IO   not satisfy this requirement because, inter a/ia, it is not separate from the notice Comcast provides

11   pursuant to the Cable Act and ii does not infonu subscribers of their privacy rights under CIPA,

12   including the protections of Cal. Pen. Code§ 637.5(a)(l).

13            17.   CIPA requires that "[a]ny individually identifiable subscriber information gathered

14   by a ... cable television corporation shall be made available for subscriber examination within 30

15   days of receiving a request by a subscriber to examine the information on the premises of the

16   corporation." Cal. Pen. Code§ 637.5(d). Comcast does not provide cable subscribers who request

17   access lo their individually identifiable subscriber information with a copy of all of the

18   individually identifiable subscriber information that Comcast gathered. Rather, when subscribers

19   request access lo their individually identifiable subscriber information, Comcast provides only the

20   subscriber's name, paitial social security number, address, and telephone number without

21   providing any of the video activity data that Comcast maintains.

22           18.    Comcast is continuing to engage in all of the unlawtill conduct alleged herein so

23   Plaintiff, Class members, and the general public face continuing, present adverse effects and

24   likelihood of future injury from Comcast's conduct.

25                                                  Plaintiff

26           19.    l'laintifT Brandon Hodges subscribed to Comcast cable television service for his

27
     5
      Plaintiff reserves the right to assert CIPA violations as to any further devices subsequently
28   disclosed or discovered.
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     residence in Oakland from in oraboul December 2015 to January 31, 2018.

 2           20.     When PlainlilT's Comcast cable television subscription began, and at least once a

 3   year thereafter, Comcast provided Plaintiff with a copy of its Customer Privacy Notice, which

 4   suffered from the above alleged deficiency.

 5           21.     Comcast never sought or obtained Plaintiff's electronic or written consent to collect

 6   his video activity data (personally identifiable or otherwise) using its cable system.

 7           22.     Upon the start of his cable subscription, Comcast provisioned Plaintiff with a set-

 8   top cable box. Plaintiff watched cable television using the set-top cable box during his cable

 9   subscription. Throughoul PlaintilT's subscriplion to Comcast's cable television service, Comcast

IO   collecled and maintained Plainliffs personally identifiable video activity data and demographic

II   dala pursuant to the slandardized practices alleged above.

12           23.     Mr. Hodges requested that Comcast produce the PII associated with his account in

13   or about November 2017. In response, Comcast provided Mr. Hodges with only his name, the last

14   four digits of his social security number, his service address, and his telephone number.

15           24.     Mr. Hodges, who is no longer a Comcast cable television subscriber, faces a threat

16   of imminent or actual harm because, inier a/ia, Comcast continues to maintain and use his

17   wrongfully obtained video aclivity dala; Comcast is in continuing breach of ils stalutory duly 10

18   provide him wilh his PII and individually identifiable subscriber information; and he cannot make

19   an informed decision about whether to subscribe to Comcast cable television in the future without

20   knowing whether Comcast has ceased its unlawful practices.

21                                              Class Allegations
22           25.     Pursuant to Code of Civil Procedure Section 382, Plaintiff brings this action on

23   behalf of themselves and the following class (the "Class"):
24                   All persons in California with a residential Comcast cable television
                     subscrip1ion at any lime during the applicable stalulory limilations
25                   pcriod(s).

26           26.     Excluded from the Class arc the following individuals: Officers and directors of

27   Corneas! and its p:trcnts, subsidiaries, and atliliatcs, all judges assigned to hear any aspect of this

28   litiga1ion, and all of the foregoing persons' immediate family members.
                                                        Page 7

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                 27.      PlaintifTreserves the right to modify or amend the definition of the proposed Class

 2       before the Court determines whether certification is appropriate.

 3               28.      Numerosity: The Class is so numerous that joinder of all Class members is

 4       impracticable.

 5               29.      Commonalitv: There are questions oflaw and fact common to the Class that

 6       predominate over any questions affecting only individual members of the Class, including:

 7                        a.      Whether the video activity data and demographic data that Comcast

 8                               collects, maintains, and uses, is Pll under the Cable Act and/or Ill under

 9                               CIPA;

10                        b.     Whether Comcast clearly and conspicuously informs subscribers of the

11                               period during which it maintains the personally identifiable video activity

12                               data and demographic data it collects;

13                        C.     Whether Comcast obtains prior written or electronic consent to collect

14                               video activity data for advertising purposes using its cable system;

15                        d.     Whether Comcast uses an electronic device to record, transmit, or observe

16                               events that take place inside its subscribers' residences; and

17                        e.     Whether Comcast obtains subscribers' express wrillen consent to record,

18                               transmit, or observe their viewing activity.

19              30.       Typicality: PlaintifT's claims are typical of Class members' claims because

20       Comcast systematically collected, maintained, and used Plaintiffs and Class members' personally

21       identifiable infonnation in the same manner.

22              3 I.      Adequacy of Representation: Plaintiff is a member of the Class, Plaintiffs interests

23       do not conflict with the interests of other Class members, and Plaintiff's counsel arc competent

24       and experienced in litigating consumer class actions.

25                        Superiority of Class Action: A class action is superior to other available means for

26       the fair and efficient adjudication of this controversy. Individual joinder of all Class members is

27       not practicable, and questions of law and fact common to the Class predominate o,·er any

28       questions affecting only individual members of the Class. Class action treatment will allow those
                                                            Page 8

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     similarly situated persons to litigate their claims in the manner that is most efficient and

 2   economical for the parties and the judicial system.

 3                                         First Cause of Action
                                       Violation of 47 U.S.C. § 551(a)
 4                                  (On behalf of Plaintiff and the Class)
 5           33.      Plaintiff incorporates all preceding paragraphs as though repeated here.

 6           34.      In violation of47 U.S.C. § 55l(a)(l)(C}, Comcast failed to clearly and

 7   conspicuously notify subscribers (including Plaintiff) in writing, at the requisite times, of the

 8   period during which it maintains their PII, including video activity data and demographic data.

 9                                        Second Cause of Action
                                       Violation of 47 U.S.C. § SSl{b)
10                                  (On behalf of Plaintiff and the Class)
II           35.      Plaintiff incorporates all preceding paragraphs as though repeated here.

12           36.     In violation of 47 U.S.C. § 55l(b), Comcast used its cable system to collect

13   personally identifiable video activity data concerning its subscribers (including Plaintiff) for

14   advertising purposes without their prior written or electronic consent.

15           37.     Comcast's collection of video activity data concerning its subscribers for

16   advertising purposes is not permitted under 47 U.S.C. § 551 (b)(2) because such collection is not

17   for the purpose of: (A) obtaining infonnation necessary to render a cable service or other service

18   provided by 1he cable operator to the subscriber; or (B) detecting unaulhorized receplion of cable

19   co111111unica1ions.

20                                          Third Cause of Action
                                        Violation of 47 U.S.C. § SSl{d)
21                                          (On behalf of Plaintiffl
22           38.     Plaintiff incorporates all preceding paragraphs as though repeated here.

23           39.     In violation of47 U.S.C. § 55l(d), Comcast failed to provide Plainiiffwith access

24   to all PII regarding Plaintiff that Comcast collected and maintains after Plaintiff requested access

25   10 his PII. Among 01her 1hings, Comcast maimains personally identifiable video activity data and

26   demographic datu about Plaintiff but did not produce it in response 10 l'lain1iffs request for his

27   PII.                               •

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                                          Fourth Cause of Action
                                  Violation of Cal. Pen. Code§ 637.S(a){I)
                                   {On behalf of Plaintiff and the Class)
 2
            40.     Plaintiff incorporates all preceding paragraphs as though repeated here.
 3
            41.     In violation of Cal. Pen. Code§ 637.5(a)(I), Comcast used an electronic device-
 4        •
     namely subscribers' cable boxes-to record, transmit, and observe events that took place inside
 5
     Plaintifrs and Class members' residences, including which channels, programs, and
 6
     advertisements PlaintilT and Class members watched and when they watched them, without the
 7
     express written consent of Plaintiff and Class members.
 8
                                            Fifth Cause of Action
 9                                 Violation of Cal. Pen. Code § 637.S{d)
                                           {On behalf of PlaintifQ
10
            42.     Plaintiff incorporates all preceding paragraphs as though repeated here.
II
            43.     In violation of Cal. Pen. Code§ 637.5(d), Comcast failed to make all of the
12
     individually identifiable subscriber information it gathered conceming Plaintiff available for
13
     examination within 30 days upon receiving a request for such infonnation from Pia inti IT. Among
14
     other things, Comcast failed to make the individually identifiable video activity data concerning
15
     Ph1intiffthat it gathered available for examination.
16
                                          Sixth Cause of Action
17                              Violations of the Unfair Competition Law
                                    Bus. & Prof. Code § 17200 et set/.
18                                (On behalf of Plaintiff and the Class)
19          44.     PlaintiIT incorporates all preceding paragraphs as though repeated here.

20          45.     California Business and Professions Code § 17200 et seq., the Unfair Competition

21   Law (the ""UCL'"), prohibits unfair, unlawful, and fraudulent business practices.

22          46.     Comcast violated the UCL's unlawful prong by, inter alia:

23                  a.      Failing to clearly and conspicuously notify subscribers (including Plaintiff)

24                         in writing. at the requisite times. of the period during which it maintains

25                         their PII, including video activity data and demographic data, in violation of

26                         47 U.S.C. § 551(a);

27                  b.     Using its cable system to collect Plaintiff's and Class members· personally

28                         identifiable video activity data without their prior written or electronic
                                                      Page 10                                               .~-
                                                 COMPLAINT
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                              consent in violation oF47 U.S.C. § 551(b);

 2                    c.      Failing_lo provide PlaintilTwith access to all Pll regarding PlaintilTlhal

 3                            Comcast collected and maintains after Plaintiff requested access to his PII

 4                            in violation of47 U.S.C. § 55I(d);

 5                    d.      Using an electronic device-namely subscribers' cable boxes-to record,

 6                            transmit, and observe events that took place inside Plaintifrs and Class

 7                            members' residences, including which channels, programs, and

 8                            advertisements Plaintiff and Class members watched and when they

 9                            watched them, without the express wriuen consent of Plaintiff, in violation

10                            of Cal. Pen. Code § 63 7.5(a)( I); and

II                    e.      Failing to make all of the individually identifiable subscriber infonnalion it

12                            gathered concerning Plaintiff available for examination within 30 days upon

13                            receiving a request for such infonnation from Plaintiff in violation of Cal.

14                            Pen. Code§ 637.5(d).

15            47.     Comcast's UCL violations resulted in the loss of money or property to Plaintiff in

16     that Comcast's unlawful collection of Plaintifrs video activity data diminished the value of

17     PlaintifT's Comcast cable service to a level below the price Plaintiff paid for it. Plaintiff would nol

18     have paid as much---0r at all-for Comcast's service had he known of Comcast's unlawful

19     activity described herein.

20                                               Prayer for Relief

21            WHEREFORE, Plaintiff and the Class pray for relief and judgment as follows:

22             I.     For statewide public injunctive relief requiring Comcast to:

23                         a. clearly and conspicuously notify cable subscribers in writing, at the

24                            requisite times, of the period during which it maintains their PII, including

25                            video uclivily data and demogrnphic darn (under the Cable Act and UCL);

26                         b. slop using its cable system to collect cable subscribers· personally

27                            identifiable video activity data for advertising purposes without their prior

28 ·                          written or electronic consent (under the Cable Act and UCL);
                                                         Page 11

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                   c. destroy all personally identifiable video activity data collected from cable

 2                     subscribers for advertising purposes without prior written or electronic

 3                     consent and any infonnation derived in whole or pa11 from such data (under

 4                     the Cable Act and UCL);

 5                 d. change its procedures to provide cable subscribers who request access to

 6                     their PII with access to all such PII in Comcast's possession, including

 7                     video activity data and demographic data (under the Cable Act and UCL);

 8                 e. stop using its cable system to record, transmit, or obse1vc video activity

 9                    data about cable subscribers without their express written consent (under

10                    CIPA and the UCL);

II                 f. destroy all video activity data collected from cable subscribers through

12                    Comcast's cable system without their express written consent (under CJPA

13                    and the UCL);

14                 g. provide cable subscribers who request access to their individually

15                    identifiable subscriber infonnation with access to all such infonnation

16                    gathered by Comcast within 30 days. including video activity data (under

17                    CIPA and the UCL).

18       2.    For liquidated damages to Plaintiff and each Class member computed at the rate of

19             $100 a day for each day of violation of 47 U.S.C. § 551 or $1,000, whichever is

20             higher, pursuant to 47 U.S.C. § 551(f)(2)(A).

21       3.    For statutory damages of S5,000 per violation of Penal Code § 637.5 for Plaintiff

22             and each Class member pursuant to Penal Code § 637.2(a)( I).

23       4.    For an award of punitive damages to Plaintiff and each Class member pursuant to

24             47 U.S.C. § 551 (f)(2)(B).

25       5.    For altorney's fees and expenses pursuant 10 all applicable laws including. without

26             limitation, 47 U.S.C. § 551 (f)(2)(C) and Code of Civil Procedure § I021.5.

27       6.    For pre-judgment interest on any amounts awarded.

28       7.    For such other and further relief as the Court deems just and proper.
                                                 Page I_:?
                                            COMPLAINT
            Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 24 of 40




             DATED: February 20, 2018           RESPECTFULL V SUBMITTED,
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                                              Poge 13
                                           COMPLAINT
     Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 25 of 40




                                       DEMAND FOR JURY TRIAL
            Plaintiff demands a trial by jury of all matters so triable.
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       DATED: February 20, 2018                           RESPECTFULLY SUBMITTED,
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                                         DEMAND FOR .JURY TRIAL
                            Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 26 of 40

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r'                                                                                                                                FOR COURT USE ONL 'I
                                                                                                                                                                     CM-010
          ,Rav E. Gallo ISBN #158903):"Domlnlc R. Valerian ISBN §2400011
           vallOLLY                                                                                                                  lENDO~
           1299 4lh s,. s,e. 505                                                                                                       lFWlID 1
           San Rafael. CA 94901
               TELEPHONENO.,                ~15) 423-3573                  FAXo\'0:   (415) 257-8844                       ALAIVlll:tlP. COUNTY
         Anc,rnEYFORt,'lirmflJ:                 randon Hode.es
       SUPERIOR COURT OF Ci\UFORNIA, COUNTY OF
                                            Alameda                                                                                    FEB 21 2D1Bl
          sraee, ........, 1225 Fallon St.
          ~..,u•oADDRess, 1225 Fallon St.                                                                         CLERK 01' .ui» .,..,, .,,uuit com
         cnv.uoz.,COOE, Oakland, CA 94612                                                                          By __:fA                              ..           :
              DRANC""""'' Oakland - Rene C. Davidson Courlhouse                                                     .               . N/Ai'JcFICfn.,,..,.
        CASE NAME:
        Brandon Hodl!es v. Comcast Cable Communications, LLC. et al.                                                                                                 '
          CIVIL CASE COVER SHEET                                                                               CASE rtUIJ.DEA:
                                                    Complex Case Designation
       [ZJ Unllmiled
            (Amounl
                            D Limited
                                 (Amounl         D   Counter    D Joinder                                                   Ra l<i<<iq 3 rJ 1&>4·
                                                                                                                              v
                  demanded
           exceeds $25,000)
                                 demanded is
                                  $25,000 or less)
                                                       Filed with first appearance by defendant
                                                            (Cal. Rules of Coun, rule 3.402)     DEP1':
                                      Items 1-6 below musl be completed (see inslrucllons on aage 2J.
                                                                                                               JUDGE,

                                                                                                                                                                     l'
      1. Check one box below for. the case type thal best describes this case:

            E3
            Au10 Tort
                       Aul0(22)
                 Uninsured molorisl (46)
                                                                        Contract
                                                        D Broach of contractAYarran!y (06)
                                                        D Rule 3.740 coDeclians (09)
                                                                                                        Provlslonally Complex Clvll LlllgaUon
                                                                                                        (Cal. Rules of Court, rules 3A00-3.4D3)
                                                                                                        D     AntitrusVTrade regulation (03)
                                                                                                                                                                     !


           Olhor PUPD/WD (Porsanal Injury/Property      D ou,ar col!ecllans (09)                        D     Conslruction dorec, 110)              ,                '
           DamagoJWrongful Death} Tort                  D Insurance coverago (18)                      ·D     Mass 1011 (40)
           D Asbestos (04)             '
                                                        D      Olher conlract (37)                      D     Securities litigation (28)                             '
           D Product rrabllilY 124)                     Real Property                                   D     Envlronmental/Tm:lc Ion (30)
           D Medical malpracllce (45)                   D Eminent domainnnverse                         D     Insurance ctiverage clalms arising lrom·' tho
           D OU!er PI/PDIWD 123)                              condemnation (14)                               obove fislod provisionally complex cas~
           Non-PIIPDIW'D (Other) Tort                   D Wrongful eviction (33)                              (ypes (41)
                                                                                                                                                                     :
           @ Business ion1un1a1r business prnc11ce co1, D Olher real property (26)                      Enforcement of Judgment
           0 Clvil rlghlS (08)                          Unlawtul Detainer                               D     Enlor.emonl ol Judgmonl (20)                           '
           D Defamation (13)                            D Commercial 131)                               Mlscollanoous Clvll Complaint                                '
           D Freud(16)                                  D Resklorilial (32)                             0 RIC0(27)                                 .
           D Intellectual property (19)                 D Orugs(38)                                     D Other complolnt (nol sper:ifled above} f12J
           D Profosslonal negUgence (25)                Judfclal Rovlow                                 Mlscollaneous Clvll Petition
           D ·ou,or non-Pl/PDIWD ion (35)               D Assol forfoHure 105)                          D Partner&hip and corporate governance (21)
           Dloymont                  ·                  D Petilion re: arbillDlion award (11)           D Other petition (not specified abovi,J (43)
                 wrongful termination (36)              D Wril ol mandelG (02)
           0- OU!or employmenl (15)                     II OUter •"'lclal review 1391                                                                                :
     2. This case L£.J is           l_Jisnot        complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
            fadars requiring cxceptiQ.nal judicial managemenl:
            a.   D  Large number of separately represented parties         d.              D
                                                                                   Large number of witnesses                                 :
            b.[Z) Extensive motion practice raising difficult or novel e.                  D
                                                                                   Coordination with related actions pending in one or more courts
                    issues that will be time--consuming to resolve                 in other counties. states, or countries. or in a federal court
            c. [Z] Substantial amo.unt of documentary evidence             f.              D
                                                                                   Substantial posljudgment judicial supervision             .
     3. Remedies sought (check all that apply}: a.[Z] monetary .b.[2] nonmonetary; declaratory or injunctive relief                                     c. [Z]punitive
     4. Number of causes of action (specify): 6
     5. This case (Z] is                            D
                                     is not a class action suit.. .
     6. If there are any known related cases, file and serve a notice of related case. (You may use l o ~
                                                                                                        Cl! n01n:)
     Dale: 02/20/2018                                                                             /l _ - . ·                                 '
     Dominic Valerian                                                                            ~~                                  -:;e!f
                                                ITYPE OR PRINT tlAME}                            ~ F PARTY OR ATTORNEY FCA PAR1Yt
                                                                                        NOTICE
        • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small daims cases or cases filed
          under the Probate Code, Family Code, or Welfare and lnslitulions Code). (C.11. Rules of Court. rule 3.220.) Failure 10 fife ma)' resull
          in sanctions.
        • File lhis caver sheet In addition to any cover sheet required by local coun rule.                                                 •
        • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
          other parties to the action or p,oceeding.
        0 Unless lhis is a collections case under rule 3.740 or a complex case. this cover sheet will be used for stalistical purposes ontv.
                                                                                                                                                                    p,... 101:
     F'Offl'.I MOP'.O:I ICr IIIIIIClalCIJ U..                                                                     cai. Rld11 o, eoun, n.1ea :1 SD, 3.:no. 3«10-3. 403, 3,740.
       JVOICi11 Cc:llndl al Clllllllnia                                 CIVIL CASE COVER SHEET                            CDI. Sund111d; DI Juc:ie:i11IAdmir.is1111t1Ctt lld, 3.:D
        Ct.'l•DIO (Rnv• .M, 1. 20071                                                                                                                     ..,.,,.,cou,r.nt111Coi1,p
                     Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 27 of 40

                                                                                                                                     CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
 To Plaintiffs and Others Filing First Papers. II you are filing a first paper (lor example. a complaint) in a civil case. you must
complete and file. along with your first paper. the Civi! Case Cover Sheet contained on page 1. This information will be used to ·compile
 stalistics aboul lhe types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you muSt check
 one box for the case type thSt best describes the case. If the case fils both a general and a more specific type of case listed iri item 1,
check the more specific one. ff lhe case has mulliple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of lhe cases that belong under each case type in item 1 are provided below. :A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject;a pany.
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.                                        ·
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a tran5action in
which property, seivices. or money was acquired on credit. A collections case does not include an action seeking the followings (1) ton
damages. (2) punitive damages. (3) recovery of real propeny. (4) recovery of personal properly. or (5) a prejudgment, writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the:general
time-for-service reqUirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.                                          :
To Parties in Complex Cases. In complex cases only, panies must also use the Civil Case Cover Sheer to designate whether the
case is complex. If a plaintiff believes the case Is complex under rule 3.400 of the Califomia Rules of Coun. this must be lndi~ted by
completing the appropriate boxes in ilems 1 and 2. If a plaintiff designates a case as complex. the cover sheet must be served:with the
complaint on all parties to ttie action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that lhe case is not complex, or, if the plaintiff has made no designation, a designaJion that
the case is complex.                                      CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                           Provlslonally Complex Clvil Llttgallon (Cal.
     Auto (22)-Personal Injury/Property             Breach of Conlract/Warranty (06)               Rules ol Caurt Rulea :SAOG-3.403) .
          Damage/Wrongful Death                          Breach of Rental/lease                         Antitrust/Trade Regulation (03) '.
     Uninsured Motorist (46) (if the                         Conrracl (nOI unlawful detainer            Construction Defect 110)        .
          case invo/11es an uninsu,ed                            or wmnglul eviction)                  Claims lnvoMng Mass Tor1 (40)'.
                                                                                                                                          1
          malarisl claim subject ta                     ContractlWarranty Breach-SeUer                 Securities Llligalion (28)
          art,ilration, check this item                      Plaintiff (not fraud or negligence}       Envlronmental!Toxic Tor1 (30) .
          in&tead af AutaJ                              Negligent Breach of Contract/                  Insurance Coverage Clalms
Dthor PI/PDIWD !Personal Injury/                             Warranly                                       (arising from pmvisianally compt,u
Property Damage/Wrongful Death)                         Olhe"r Breach of Contract/Warranty                  case type /isled above) (41).
Tort                                                Collections (e.g .• money owed, open            Enforcement of Judgment               ;
     Asbestos (04)                .                     book accounts) (09)                            Enforcement of Judgment (20) :
         Asbestos Property Damage                       Collection Case-seller Plaintiff                    Abstrae1 of Ju_dgment (Out of
         Asbestos Personal Injury/                      Olher Promissory Notc/Colleclions                        Counly)                  .
                wrongful Dealh                               Case                                           Confession of Judgment (nan-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                  •     domestic relationSJ      •
         taxir:lenvironmental) (24)                     complex) (18)                                       Sister State Judgmenl         i
     Medical Malpractice (45)                           Auto Subrogalion                                    Administrative Agency Award
         Medical Malpractice-                           Olhcr Coverage                                          (not unpaid taxes)        ·
                 Physicians & Surgeons              Other Contract (37)                                     Petition/Certification of Entry of
         Olher Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                 Malpractice                            Other Conrract Dispute                              Other Enforcement of Judgment
                                                                                                                 Case                     :
     Olher PI/PDIWD 123)                        Roal Property
         Premises Liability (e.g., ·slip            Eminent Domain/Inverse                          Mlscellaneous Clvil Complaint
                and fall)                               Condemnation (14)                               RIC0127J                        .
         Intentional Bodily lnju,y/PD/WD            Wrongful Eviction (33)                              Other Complalnt (not specified :
                                                                                                           above) (42)                  ·
                 (e.g•• assaull, vandalism)        Olher Real Property (e.g .. quiel litle) (26)
         Intentional Infliction of                      Writ of Possession of Real Property                Declaratory Relief Only     .
                                                                                                           Injunctive Relief Only (non-·
                 Emotional Distress                     Mortgage Foreclosure                                   · harassment)
         Negligent lnOiction·of                         Quiet Tille
                 Emotional Distress                     Other Real Property (not eminent                    Mechanics Lien             .
                                                                                                            Other Commercial Complainl
         Other Pl/PD/WO                                 domain, landlord/tenant, or
                                                                                                                Case (nan-tortlnon-co/11plex)
Non•PIIPDIWD (Other) Tort                           • foreclosure)                                          Other Clvil Complaint
     Business Tort/Unfair Business              Unlawful Detainer                                              (nan-tattlnon-<:0mplex) .
          Practice 107)                            Commercial 131)                                  Miscellaneous Clvll PetlUon        •
      CivU Righls (e.g., discrimination,           Residential (32)                                    Par1nership and Corporate
          fatse arrest) (not civil                 Drugs (38) (ii the case involves illegal                 Governance (21)
          harassmenrJ (08)                              drugs, chec:lc this item; othe,wise,           Other Pelition (nor specified
      Defamation (e.g., slander, libel)                 report as Comme,c;a1 or Residen1;a1J                a1Jove)l43)
            (13)                                Judlclal Review                                             Civil Harassment
   Fraud (16)                                      Assel Foiteiture (05)                                    Workplace Violence
   Intellectual Property (19)                      Pctilion Re: Arbltraiion Award (11)                      Elder10ependen1 Adull
   Professional Negligence (25)                    Wril of Mandate (02)                                          Abuse
       Legal Malpractice                                Wril-Adminislrative Mandamus                        Election Contest
      •Other Professional Malpractice                   Wrll-Mandamus on Limiled Court                      Petition for Name Change
           (not medical or legal)                           Case Manor                                      Petilion for Relief From Lale
    Other Non-PI/PDJWD Tort (35)                        Writ-Other Limiled Court Case                            Claim
Employmenl                                                  Review                                          Olher Civil Petition
   Wrongful Termination (36)                       Other Judicial Review (39)
   Other Employment (15)                                Review of Heallh Officer Order
                                                        Notice of AppeaJ...Labor
                                                           Commissioner Appears
CM-010 tRov. Jutr 1. 20071                                                                                                              'PapZolZ
                                                    CIVIL CASE COVER SHEET
                       Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 28 of 40

 Short Title:                                                                                                  Case Number:
 Hodges v. Comcast Cable Communications, LLC, et al.
                                                        CIVIL CASE COVER SHEET ADDENDUM
                                  THIS FORM IS REQUIRED IN ALL NEW UNLIMITED CIVIL CASE FILINGS IN THE
                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA
                                                                                    I I    Hayward Hall of Justice (447)
 lxl   Oakland. Rene C. Davidson Alameda County Courthouse (446)                    I )    Pleasanton, Gale-Schenone Hall of Justice (448)
 Civil Case Cover
 Sheet Category          Civil Case Cover Sheet Case Type        Alameda County Case Type (check only one)
Auto Tort                Auto tort (22)                           [ [     34    Auto tort (G)
                                                                 Is this an uninsured motorist case? r 1 ves r 1 no
Other Pl /PD I           Asbestos (04)                            I I      75   Asbestos (D)
WO Tort                  Product liability (24)                   I I      89   Product liabilily (n2J asbestos or toxic tort/environmental) (G)
                         Medical malpractice (45)                 I I      97   Medical malpractice (G)
                         Other Pl/PD/WO tori 1231                    I 1   33   Other Pl/PO/WO tort (Gl
Non· Pl/PD/              Bus tort I unfair bus. practice (07)        !xi   79    Bus lort I unfair bus. practice (G)
WO Tort                 Civil righls (08)                         I   I    80   Civil rights (G)
                         Defamation (13)                          I   I    84   Defamation (G)
                         Fraud (16)                               I   I    24   Fraud (G)
                         Intellectual property (19)               I    I   87    Intellectual property (G)
                         Professional negligence (25)             I    I   59    Professional negligence • non-medical (G)
                       Other non-PI/PDJWD tort (35)               I 1      03   Other non•PIIPDIWD tort CG)
Employment             Wrongful termination (36)                 I I       38   Wrongful termination (G)
                       Other employment (15)                     I I       85   Other employment (G)
                                                                 I I       53   Labor comm award confirmation
                                                                 I 1       54   Notice of a""eal • L.C.A.
Contract                Broach contract I Wrnty (06)             I I       04   Breach contract I Wrnty (G)
                       Collections (09)                          I I       81   Collections (G)
                       Insurance coverage (18)                   I I       86   Ins. coverage • non-complex (G)
                       Olhor contract (37)                        I 1      98   Other contract (G)
Roal Property          Eminent domain / Inv Cdm (14)             I I       18   Eminent domain / Inv Cdm (G)
                       Wrongful eviction (33)                    I I       17   Wrongful eviction (G)
                       Other real property (26)                   I I      36   Other real property (G)
Unlawful Detainer      Commercial (31)                           I I       94   Unlawful Detainer· commercial            Is the deft. in possession
                       Residential (32)                          I I       47   Unlawful Detainer· residential           of the property?
                       Druas (381                                I l       21   Unlawful detainer· drugs                 [ I Yes     [ I No
Judicial Review        Asset forfeilure (05)                     I I       41   Asset forfoituro
                       Potilion ro: arbitration award (11)       I I       62   Pat. re: arbilration award
                       Writ of Mandate (02)                      I I       49   Writ of mandate
                                                                 Is this a CEQA action (Publ.Res.Code section 21000 et seq) [ I Yes [ I No
                       Other judicial review (39)                 I I      64  Other judicial review
Provisionally          Antitrust I Trade regulation (03)         I I       77   Antitrust I Trade regulation
Complex                Construdion defect (10)                   I I       82   Construction defect
                       Claims involving mass tort (40)           I I       78   Claims involving mass tort
                       Securities litigation (28)                I I       91   Securities litigation
                       Toxic tort/ Environmental (30)            I I       93   Toxic tort I Environmental
                       Ins covra from cmalx case tv"e (41)       [ 1       95   Ins covrg from complex case type
Enforcement of         Enforcement of judgment (20)              I I       19   Enforcement of judgment
Judgment                                                         I 1       08   Confession of iudament
Misc Complaint         RICO (27)                                 [    I    90   RICO (G)
                       Partnership I Corp. governance (21)        I I      88   Parlnorship I Corp. governance (G)
                       Other CO"""laint 142l                     I 1       68   All other comolainls IGl
Misc. Civil Petition   Other pelition (43)                       I I       06   Change of name
                                                                 I 1       69   Other petilion
       202-19 (5/1100)                                                                                                                        A-13
Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 29 of 40




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                                                 ·~ ~ .
                 Superior Court of California, County of Alameda
            Alternative Dispute Resolution (ADR) Information Packet

    The person who files a civil lawsuit (plaintiff) must include the ADR Infonnation Packet
    with the complaint when serving the defendant. Cross compiainants must serve the ADR
    Infonnation Packet on any new parties named to the action.

     The Court stro11gly e11co11rages the parties to use some fonn of ADR before proceeding to
     trial. You may choose ADR by:
           •     Indicating your preference on Case Management F onn CM-I IO;
           •    Filing the Stipulation to ADR and Delay Initial Case Management Conference for
                90 Days (a local form included with the information packet); or
           •    Agree to ADR at your Initial Case Management Conference.

     QUESTIONS? Call (510) 891-6055. Email admrogram@alameda.courts.ca.gov
     Or visit the court's website at http://www.alameda.courts.ca.gov/adr

                                  What Are The A~vantages Of Using ADR?
 •     Faster -Litigation can take years to complete but ADR usually takes weeks or months.
 •     Cl1et1pcr - Parties can sa~e on attorneys' fees and litigation costs.
 •     Mo1·e co11t1·ol a11dfle.>:ibility- Parties choose the ADR process appropriate for their case.
 •    Cooperative a11d less st1·essfi1l - In mediation, parties cooperate to. find a mutually
      agreeable resolution.
 •    Preserve Relatio11sJ,ips - A mediator can help you effectively communicate your
      interests and point of view to the other side. This is an important benefit when you want
      to preserve a relationship.

                                  What Is The Disadvantage Of Using ADR?
•     You 1111,_v go ta court a11ywt1y- If you cannot resolve your dispute using ADR, you may
      still have to spend time and money resolving your lawsuit through the courts.

                                     What ADR Options Arc Available?
•     Melliatio11 - A neutral person (mediator) helps the parties communicate, clarify facts,
      identify legal issues, explore settlement options, and agree on a solution that is acceptable
      to all sides.

      o    Court Mediation Program: Mediators do not charge fees for the first two hours of
           mediation. If parties need mo.-e time, they must pay the mediator's regular fees.

ADR lnfoSl11:c1.Rc,.•. t2/l5/IO                                                             Page I o/2
Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 30 of 40




              Some mediators ask for a deposit before mediation starts which is subject to a refund
              for unused time.

        o    Private Mediation: This is mediation where the parties pay the mediator's regular
             fees and may choose a mediator outside the court's panel.

   •   Arbitration -A neutral person (arbitrator) hears allPJlllents and evidence from each side
       and then decides the outcome of the dispute. Arbitration is less formal than a trial and the
       rules of evidence are often relaxed. Arbitration is effective when the parties want
       someone other than themselves to decide the outcome.

       o     Judicial Arbitration Program (non-binding): The judge can refer a case or the
             parties can agree to use judicial arbitration. The parties select an arbitrator from a list
             provided by the court. If the parties cannot agree on an arbitrator, one will be
             assigned by the court. There is no fee for the arbitrator. The arbitrator must send the
             decision (award of the arbitrator) to the court. The parties have the right to reject the
             award and proceed to trial.

       o      Private Arbitration (binding and non-binding) occurs when parties involved in a
              dispute either agree.or are contractually obligated. This option takes place outside of
            · the courts and is normally binding meaning the arbitrator's decision is final.

                            Mediation Service Programs In Alameda County
 Low cost mediation services are available through non-profit community organizations.
 Trained volunteer mediators provide these services. Contact the following organizations for
 more information:


 SEEDS Community Resolution Center
 2S30 San Pablo Avenue, Suite A, Berkeley, CA 94702-1612
 Telephone: (SIO) S48-2377      Website: www.seedscrc.org
 Their mission is to provide mediation, facilitation, training and education programs in our
 diverse communities - .Se1vices that Encourage Effective Dialogue and .Solution-making.


Center for Community Dispute Settlement
291 McLeod Street, Livermore, CA 94SSO
Telephone: (92S) 373-103S     Website: www.trivalleymediation.com
CCDS provides services in the Tri-Valley area for all of Alameda County.


For Victim/Offencler Restorative Justice Services
Catholic Charities of the East Bay: Oakland
433 Jefferson Streel, Oakland, CA 94607
T~lephone: (SIO) 768-3100      Website: www.cceb.org                             .
Mediation sessions involve the youth, victim, and family members work toward a mutually
agreeable restitution agreement.




ADR lnfoSh1.-e1.Rcv. l2/JS/IO                                                                 Pugr:2of2
                 Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 31 of 40


                                                                                                                                       ALAADR-001
   ATTORNEY OR PARTY WITHOUT ATTORNEY IMlme, ~o 8.ltnumt,ar, andaddmS)                                                FOR C:OURTUSE 0."ILY



                       TELEPHONE NO.:                         FAX NO. (Oplmal}:
             E·MAIL ADDRESS (OplionoO:
                AffORNEY FOR tMJma):
  SUPERIOR COURT OF CALIFORNIA, ALAMEDA COUN"fY
                    STREET ADDRESS:
                    MAILING ADDRESS:                                                                                                    '
                   CITY AND ZIP CODE:
                        DRANCHNAME

   PLAINTIFF/PETITIONER:
  DEFENDANT/RESPONDENT:

                                                                                                       CASE NUMBER:
  STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)
  AND DELAY INITIAL CASE MANAGEMENT. CONFERENCE FOR 90 DAYS


                 INSTRUCTIONS: All appllcable boxes must be chocked, and the spocifioij Information must bo provided.

        This stipulation. is effective when:
        •    All parties have signed and filed this stipulation with the Case Management Conlerence Statement at least 15 days belore the
             Initial case management conference.
        •    A copy of this stipulation has been received by the ADR Program Adminislrator, 1225 Fallon Street, Oakland, CA 94612.

 1.     Date complaint filed: _ _ _ _ _ _ _ _ _ _. An Initial Case Management Canforonco is scheduled far:

        Dale:                                       Time:                                    Department:

 2.     Counsel and all parties certify they have met and conferred and hal/8 selected Iha fallowing ADR process (check ans):

        D    Court mediation              D    Judicial arbitration ·
        0    Private mediation            D    Private arbilralion

 3.    All parties agree lo complete ADR vAthin 90 days and certify that:
       a.    No party to lhe case has requested a complex civil litigation detennination hearing:
       b.    All parties have been served and intend lo submit to Iha jurisdiction of the court;
       c.    All parties have agreed to a specific plan lor sufficient discovery to make the ADR process moanlnglul;
       d.    Copies ol this stipulation and self-addressed stamped envelopes are provided for returning endorsed filed stamped copies to
             counsel and all parties:
      · e.   Case management statements are submitted wilh this sUpulation:
        f.   All parties will attend ADR conferences; and,
        g.   The court will not allow more than 90 days to complete ADR.

I declare Linder penally of peojury under the laws of the State of CSlifomia that the foregoing is true and correcl

Dale:

                                                                     ~--------------
                  {TYPE OR PRINT NAME)                                      (SIGNATURE OF PLAINTIFF)



Date:



                                                                  ~--------------
                 (TYPE OR PRINT NAME)                                     (SIGNATURE OF ATTORNEY FOR PLAINflFF)
                                                                                                                                                P1111c 1 of2
 Fenn AJ,prO\'Od fa, Mambtary USO
    Superior Caun o! Collfcrnia,    STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)                                     C111. Rule!! or Cautt.
        Coun1y of Alamocl'3                                                                                                        rule 12'2113]14)
ALAADH-mtl lt:OWJ:inumy 1, 2DIO)    AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS
                   Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 32 of 40


                                                                                                                  ALAADR-001
                                                                                                   CASE NUMBER.: •
  PLAINTIFF/PETITIONER:

 DEFENDANT/RESPONDENT:



 Date:




                     (TYPE OR PRINT NAME)                             (SIGNATURE OF DEi=ENDAtu)



 Date:




                     (TYPE OR PRINT NAME)                            (SIGNATURE OF ATTORNEV FOR DEFENDANT)




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 FormAp~ lorM:indalmy USo                                                                                      Cal. Ruler.. of Court,
     SuPllrfaJ Cut of Cdlfomia,         STIPULATION TO ATTEND ALTERNATIVE DISPUTE RESOLUTION (ADR)             ndo 1221(11Jl4J
         Count, c! Atam!ldD             AND DELAY INITIAL CASE MANAGEMENT CONFERENCE FOR 90 DAYS
Al.A A!JR.001 (tlQl'IJanua,y 1, 201DJ
        Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 33 of 40

                                                     l                                                          l
r GALLO LLP                                                     r   Comcast Cable Communications, LLC
     Attn: Valerian, Dominic R.
     1299 Fourth Street
     Suite 505
L    San Rafael, CA 94901_                           J          L                                               J


                      Superior Court of California, County of Alameda
                       Rene C. Davidson Alameda County Courthouse

    Hodges                                                                No. RG 18893764
                                      PlainliftlPetitioner(s)
                           vs.
                                                                       NOTICE OF HEARJNG
    Comcast Cable Communications, LLC
                                  l)i::fenwml/Responde11t(S)
                    (Abbreviated Title)

             To each party or to the attomey(s) ofrecord for each party herein:
             Notice is hereby given that the above-entitled action has been set for:
                                   Complex Dctennination Hearing
                                   Case Management Conference
             You are hereby notified to appear at the following Court location 011 the date and
             time noted below:
      Complex Dctcnnination Hearing:
      DATE: 04/10/2018 TIME: 03:00 PM DEPARTMENT: 23
      LOCATION: Administration Building, Fourth Floor
                   1221 Oak Street, Oakland
      Case Management Conference:
      DATE: 05/15/2018 TIME: 03:00 PM DEPARTMENT: 23
      LOCATION: Administration Building, Fourth Floor
                   1221 Oak Street, Oakland


         Pursuant to California Rules of Court, Rule 3.400 et se.q. and Local Rule 3.250 (Unified Rules of
         the Superior Court, County of Alameda), the above-entitled matter is set for a Complex Litigation
         Detennination Hearing and Initial Complex Case Management Conference.

         Department 23 issues tentative rulings on DomainWeb (www.alameda.courts.ca.gov/domainweb).
         For parties lacking access to DomainWeb, the tentative ruling must be obtained from the clerk at
         (510) 267-6939. Please consult Rule 3.30(c) of the Unified Rules of the Superior Court, County of
         Alameda, concerning the tentative ruling procedures for Department 23.

         Counsel or party requesting complex litigation designation is ordered to serve a copy of this notice
         on all parties omitted fi'om this notice or brought into the action aft.er this notice was mailed.

         All counsel of record and any unrepresented parties arc ordered to attend this Initial Complex Case
         Management Conference unless otherwise notified by the Court.

         Failure to appear, comply ·with local rules or provide a Case Management Conference statement
         may result in sanctions. Case Mauagement Statements may be filed by E-Delivery, by submitting
        directly to the E-Delivery Fax Number (510) 267-5732. No fee is charged for this service. For
        further information, go to Direct Calendar Departments at
     Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 34 of 40

       http://apps.alameda.cou rts. cit,gov/domainweb.

       All motions in this matter to be heard prior to Complex Litigation Detennination Hearing must be
       scheduled for hearing in Department 23.

       If the infonnation contained in this notice requires change or clarification, please contact the
       courtroom clerk for Department 23 by e-mail at Dept.23@alameda.courts.ca.gov or by phone at
       (510) 267-6939.

       TELEPHONIC COURT APPEARANCES at Case Management Conferences may be available by
       contacting CourtCall, an independent vendor, at least 3 business days prior to the scheduled
       conference. Parties can make arrangements by calling (888) 882-6878, or faxing a service request
       form to (888) 883-2946. This service is subject to charges by the vendor.


       Dated: 02/26/2018                     Chad Finke Executive Officer/ Clerk of the Superior Court

                                                 By       j)~=~
                                                                                   I)eputy Clerk
                                     CLERK'S CERTIFICATE OF MAILING
I certify that the following is true and correct: l am the clerk of the above-named court and not a party to
this cause. I served this Notice by placing copies in envelopes addressed as shown hereon and then by
sealing and placing them for collection, stamping or metering with prepaid postage, and mailing on the date
stated below, in the United States mail at AJameda County, California, following standard court practices.
                Executed on 02/27/2018.

                                                 By
                                                                                   Deputy Clerk
                       Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 35 of 40




                  1    Ray E. Gallo (SBN 158903)
                       rgallo@gallo-Law.com
                  2    Dominic Valerian (SBN 240001)
                       dvalerian@gallo-law.com
                  3
                       GALLO LLP
                 4     1299 Fourth St., Suite 505
                       San Rafael, CA 94901
                  5    Phone: 415.257.8800

                  6    Hank Bates (SBN l 67688)
                       hbates@cbplaw.com
                  7
                       CARNEY, BATES & PULLlAM, PLLC
                  8    519 West 7th Street         ·
                       Little Rock, AR 72201
                  9    Phone: 501.312.8500
                       Attorneys for Plaintiff
                 10    Brandon Hodges
                 11
    II')               Attorneys for Plaintiff
    ~o           12    Brandon Hodges
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    [;I.                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
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                 16
                                                        COUNTY OF ALAMEDA


                 17
                      Brandon Hodges, for himself, and all      Case No. RO 18893764
                 18   others similarly situated,
                                                                Dept. 23
                 19                  Plaintiff,
                 20          vs.
                                                                NOTICE OF PAYMENT OF ADVANCE JURY
                 21   Comcast Cable Communications, LLC, a      FEE
                      Delaware limited liability company; and
                 22   Does 1-50, inclusive,
                                                                Complaint Filed:   February 21, 2018
                 23
                                     Defondants
                 24

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                                                                Page I
                                           NOTICE OF PAYMENT OF ADVANCE JURY FEE
                      Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 36 of 40




                 1          TO THE COURT, ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

                 2
                            PLEASE TAKE NOTICE that Plaintiff Brandon Hodges hereby submits a jury fee deposit

                     in the amount of $150 in the above-entitled action pw·suant to California Code of Civil Procedure
                 3
                4    Section 631 (b).

                 5
                     DATED: 3/5/2018                                    RESPECTFULLY SUBMITTED,
                 6
                                                                        GALLOLLP
                 7

                 8
                                                                By:
                 9                                                      Dominic Valerian
                                                                        Attorneys for Plaintiffs
                10

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                                          NOTICE OF PAYMENT OF ADVANCE JURY FEE
                          Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 37 of 40


                    1   Ray E. Gallo (SBN 158903)
                        rgallo@gallo.law
                   2    Dominic Valerian (SBN 240001)
                        dvalerian@gallo.law
                   3
                        GALLOLLP
                   4    1299 Fourth St., Suite 505
                        San Rafael, CA 94901
                   5    Phone: 415.257.8800

                   6    Hank Bates (SBN 167688)
                        hbates@cbplaw.com
                   7
                        CARNEY, BATES & PULLIAM, PLLC
                    8   519 West 7th Street
                        Little Rock, AR 72201
                   9    Phone: 501.312.8500

                   10   Attorneys for Plaintiff
                        Brandon Hodges
                   11
     ll'l
     o_            12
     lfl 0
                                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
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...:i ":     < 13                                       COUNTY OF ALAMEDA
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C, ::,
     ~
       '2                Brandon Hodges, for himself, and all      Case No. RG18893764
     a,,.
             C
             ('S   15    others similarly situated,
      -
     ~<.I}


                   16
                                         Plaintiff,
                                                                   Dept. 23

                   17            vs .
                                                                   PROOF OF SERVICE
                   18    Comcast Cable Communications, LLC, a
                         Delaware limited liability company; and
                   19    Does 1-50, inclusive,
                   20
                                                                   Complaint Filed:   Febrnary 21, 2018
                   21
                        - - - - - -Defendants
                                    - - - - - - - -~
                   22
                   23

                   24

                   25
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                   27

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                                                                   Page 1

                                                            PROOF OF SERVICE
        Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 38 of 40


                                          PROOF OF SERVICE

 2 STATE OF CALIFORNIA                     )
                                           ) ss.
 3
     COUNTY OF MARIN                       )
 4
   I am over the age of 18 years and not a party to the within action; my business address is 1299
 5 Fourth St., Suite 505, San Rafael, Califomia 94901. My address for electronic service is
   sshimizu@gallo.law.
 6

 7 On March 5, 2018, in the matter of Hodges v. Comcast Cable Communications, LLC, Alameda
   Superior Court Case No. RG18893764, I served true and correct copies of the following
 g document(s):

 9 NOTICE OF HEARING (COMPLEX DETERMINATION HEARING AND CASE
   MANAGEMENT CONFERENCE)
10
ll   NOTICE OF PAYMENT OF ADVANCE JURY FEE

12 By the following means of service:

13 _X_ :By First-Class M ail - by enclosing the documents in an envelope and depositing the scaled
   envelopes with the United States Postal Service at San Rafael, California, with the postage fully
14 prepaid and addressed as follows:


        Seamus C. Duffy                                        Registered Agent for Service of
16      Michael W. McTigue                                     Process for Defendanl Comcast
        Meredith C. Slawe                                      Cable Communications, LLC
17      DRINKER BIDDLE & REATH LLP
        One Logan Square, Suite,2000
18      Philadelphia, PA 19103
19
     I declare under penalty ofperjmy under the laws of the State of California that the foregoing is
20 true and correct and that this declaration was executed on March 5, 2018, at San Rafael,
   California.
21

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23                            Season Shimizu

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                                                      Page 2
                                               PROOF OF SERVICE
                   Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 39 of 40


                                              •
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Nsme, Stats Ber number, and address):
    Dominic Valerian, 240001                ·
                                                                               IIIIIII IIIII IIIII IIIII IIIII IIIII IIIII IIIII IIII IIII
                                                                                               20663816

                                                                                                                                             POS-010


    Gallo LLP
    1299 Fourth Street, Suite 505
    San Rafael, CA 94901
         TELEPHONE NO.: (415)257-8800 Ext 17
    ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 Superior Court of California, Alameda County
 1225 Fallon Street, #109
 Oakland, CA 94612-4293
      PLAINTIFF/PETfflONER:              Brandon Hodges                                               CASE NUMBER:

                                                                                                      RG18893764
 DEFENDANT/RESPONDENT:                   Comcast Cable Communications, LLC, et al.
                                                                                                      Ref. No. or FIie No.:
                                    PROOF OF SERVICE OF SUMMONS                                       1583.180219
1; At the time of service I was a citizen of the United States, at least 18 years of aAe and not a party to this action.
2. I served copies of:    Summons, Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum, ADR
                                     Packet, Stipulation ADR Packet


3. a. Party served: Comcast Cable Communications, LLC, a D~laware limited liability company

  . b. Person Served: CT Corporation System - Person Authorized to Accept Service of Process

4. Address where the party was served: 818 West Seventh Street, Suite 930
                                                  Los Angeles, CA 90017
5. I served the party
     a. by personal service. I personally delivered the documents listed in Item 2 to the party or person authorized to
        receive service of process for the party (1) on (date): 02/22/2018                (2) at (time): 3:00PM
6. The "Notice to the.Person Served" (on the summons) was completed as follows:



   d. on behalf of:

Comcast Cable Communications, LLC, a Delaware limited liability company
under: Other: Limited Liability·Company
7. P~rson who served papers
   a. Name:        Jimmy Lizama
   b. Address:     One Legal - 194-Marin
                   G04 Redwood Dlvd #223
                   Novato, CA 94947

  c. Telephone number:415-491-0606
  d. The fee for service was: $ 40.00
  e I am:
       (3) reQistered California process server.
             (I) Employee or independent contractor.
             (ii) Registration No.: 4553
             (iii) County: Los Angeles
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date: 02/23/2018                                                                                       . .,.


                           Jimmv Lizama
                      NAME OF PERSON WHO SERVED PAPERS
  Form Adopted for Mandatory Use                                                                                              e of Civil Procedure, § 417.10
Judicial Council of California POS.010
        [Rev. Jan 1, 2007)                               PROOF OF SERVICE
                                                                                                                   ·(5~751386
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                                            •
              Case 4:18-cv-01829-HSG Document 1 Filed 03/23/18 Page 40 of 40
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                                                                                                                                                  20658445···-· -·- - ·--~·
                                                                                                                                                                        .




                                                                                                                                                               POS-010
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, Stars Barnumbar, and address):
    Dominic Valerian, 240001
                                                                                                                           FFJCBDY
    Gallo LLP                                                                                                 ALAMEDA COUNTY
    1299 Fourth Street, Suite 505
    San Rafael, CA 94901                                                                                               MAR 18 .2018 ·
         TELEPHONE NO~ ( 415 )257-8800 Ext 17
                                                                                                                                     I
    ATTORNEY FOR (Name): Plaintiff

  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 Superior Court of California, Alameda County
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                                                                                                                                              I             n..-····
 1225 Fallon Street, #109
 Oakland, CA 94612-4293
      PLAINT1FF/PET1T10NER:             Brandon Hodges                                                CASE NUMBER:

                                                                                                      RG18893764
 DEFENDANT/RESPONDENT:                  Comcast Cable Communications, LLC, et al.
                                                                                                      Rel. No. or Filo No.:
                                   PROOF OF SERVICE OF SUMMONS                                        1583.180219
1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.                    t:S Y f AX.
2. I served copies of: Summons, Complaint, Civil Case Cover Sheet, Civil Case Cover Sheet Addendum, ADR
                                   Packet, Stipulation ADR Packet


3. a. Party served:          Comcast Cabl~. Communi.cations., LLC, a (?elaware limited liability company

    b. Person Served: CT Corporation System - Person Authorized to Accept Service of Process

4. Address where the party was served:            818 West Seventh Street, Suite 930
5. I served the party
                                                . Los Angeles, CA 90017
     a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
        receive service of process for the party (1) on (date): 02/22/2018                (2) at (time): 3:00PM
6. The ."Notice to the Person Served" (on the summons) was completed as follows:




   d. on behalfof:

Comcast Cable Communications, LLC, a Delaware limited liability company
under: Oth~r: Limited Liability Company
7. Person who served papers
   a. Name:        Jimmy Lizama
   b. Address:     One Legal • 194-Marin
                                504 Redwood Blvd #223
                                Novato, CA 94947

  c. Telephone number: 415-491-0606
  d. The fee for service was: $ 40.00
  e I am:
       (3) reoistered California orocess server.
             (i) Employee or independent contractor.
             (ii) Registration No.: 4553
             (iii) County: Los Angeles
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date:     02/23/2018                                                                                       -<''




                           Jimmy Lizama
                      NAME OF PERSON WHO SERVED PAPERS
   Fenn Adopted ror Mandatory Use
 Judicial Cooncil or Cal~omla POS-010
         (Rev. Jal'I 1, 2007]                            PROOF OF SERVICE
